Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 1 of 32 PageID #:30192




                       EXHIBIT 10
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 2 of 32 PageID #:30193
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 3 of 32 PageID #:30194
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 4 of 32 PageID #:30195
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 5 of 32 PageID #:30196
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 6 of 32 PageID #:30197
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 7 of 32 PageID #:30198
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 8 of 32 PageID #:30199
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 9 of 32 PageID #:30200
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 10 of 32 PageID #:30201
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 11 of 32 PageID #:30202
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 12 of 32 PageID #:30203
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 13 of 32 PageID #:30204
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 14 of 32 PageID #:30205
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 15 of 32 PageID #:30206
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 16 of 32 PageID #:30207
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 17 of 32 PageID #:30208
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 18 of 32 PageID #:30209
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 19 of 32 PageID #:30210
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 20 of 32 PageID #:30211
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 21 of 32 PageID #:30212
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 22 of 32 PageID #:30213
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 23 of 32 PageID #:30214
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 24 of 32 PageID #:30215
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 25 of 32 PageID #:30216
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 26 of 32 PageID #:30217
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 27 of 32 PageID #:30218
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 28 of 32 PageID #:30219
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 29 of 32 PageID #:30220
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 30 of 32 PageID #:30221
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 31 of 32 PageID #:30222
Case: 1:23-cv-04098 Document #: 162-10 Filed: 02/18/25 Page 32 of 32 PageID #:30223
